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IN THE UNITED STATES DISTRICT COURT NGY % } 2018
FOR THE WESTERN DISTRICT OF PENNSYLVANIA CLs oe
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WEST. DIST. OF PENNSYLVANIA

UNITED STATES OF AMERICA
V. Criminal No. IS ~ 3] 5

ARLINDA MORIARTY [UNDER SEAL]
DAYNELLE DICKENS
JULIE WILSON

TAMIKA ADAMS

TONY BROWN

TERRY ADAMS

TERRA DEAN

TIONNE STREET

KEITH SCOGGINS

TIA COLLINS

LARITA WALLS

LUIS COLUMBIE-ABREW

 

MOTION TO SEAL INDICTMENT
AND ARREST WARRANTS

 

AND NOW comes the United States of America, by its attorneys, Scott W. Brady,
United States Attorney for the Western District of Pennsylvania, and Eric G. Olshan, Assistant
United States Attorney for said District and, pursuant to Rules 6(e)(4) and 6(e)(6) of the Federal
Rules of Criminal Procedure, respectfully moves the Court to issue an Order sealing the
Indictment returned in this case, and the Arrest Warrants issued pursuant to said Indictment. In
further support of this Motion, the United States avers as follows:

1. The United States has presented an Indictment to the grand jury now in
session in the City of Pittsburgh, Pennsylvania.
2. The aforesaid Indictment charges the above-named defendants with

violating Title 18, United States Code, Sections 2, 1035(a)(1), 1028A(a)(1), 1347 and 1349.

3. The Indictment has been returned by the grand jury to this Honorable

 
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Court, and Arrest Warrants have been requested by the government.

4. The United States deems it prudent, in the interest of justice and integral to
the integrity of the grand jury process that the Indictment returned by the grand jury and Arrest
Warrants issued thereby, together with this Motion and Order to Seal, be sealed until further
Order of Court to ensure that the arrest of the defendants not be compromised and that the
secrecy of the grand jury proceedings be maintained to prevent disclosure of matters occurring
before the grand jury.

WHEREFORE, the United States of America respectfully requests that the Court

issue an Order sealing the Indictment in this case, and the Arrest Warrants issued thereby,
together with this Motion and Order, until further Order of Court.

Respectfully submitted,

SCOTT W. BRADY
United States Attorney

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ERIC G. OLSHAN
Assistant U.S. Attorney
IL ID No. 6290382

 

 
